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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK


AMERICAN TRANSIT INSURANCE COMPANY                                         Civil Action No. 24-cv-0360


                       Plaintiffs,

vs.
PIERRE et al




                       Defendants.




                   NOTICE OF CHANGE OF CONTACT INFORMATION

  TO: Clerk’s Office & All Other Parties
  Pursuant to Local Rule 1.3of this Court, please take notice of the following attorney information
  change(s) for:


  Attorney Name: Ioanna O. Zevgaras
  My Federal Court Bar Number is: SB7923_________________
  My State Court Bar Number is: 4229472 __________________




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I am an attorney representing the (plaintiff(s)), American Transit Insurance Company, and my
firm’s name, and contact information has changed as follows:


OLD FIRM:
Firm Name: Short & Billy, P.C.
Firm Address: 217 Broadway, Suite 300, New York, NY 10007
Firm Telephone Number: (212)732-3320
Firm Fax Number: (212)732-3326
Firm E-mail Address: ioanna@shortandbilly.com


NEW FIRM:
Firm Name: Short & Billy, P.C
Firm Address: 15 Maiden Lane, Suite 1100, New York, NY 10038
Firm Telephone Number: (212)732-3320
Firm Fax Number: (212)732-3326
Firm E-mail Address: ioanna@shortandbilly.com


Please be advised that I will continue to be counsel of record on the above-captioned case at my
new firm.


Dated: November 20, 2024
                                                    ________________
                                                    Ioanna O. Zevgaras
                                                    Short & Billy, P.C.
                                                    15 Maiden Lane, Suite 1100
                                                    New York, NY 10038
                                                    Phone: (212)-732-3320
                                                    Fax: (212)-732-3326
                                                    E-Mail: ioanna@shortandbilly.com
                                                    Attorney for:
                                                          American Transit Insurance Company




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                               CERTIFICATE OF SERVICE
I, Ioanna O. Zevgaras, hereby certify that on, November 20, 2024, I served copies of the subject
Notice of Change of Contact Information to all counsel/parties of record via ECF.



Dated: November 20, 2024                           __________________________
                                                   Ioanna O. Zevgaras
                                                   Short & Billy, P.C.
                                                   15 Maiden Lane, Suite 1100
                                                   New York, NY 10038
                                                   Phone: (212)732-3320
                                                   Fax: (212)732-3326
                                                   E-Mail: ioanna@shortandbilly.com
                                                   Attorney for:
                                                         American Transit Insurance Company




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